 Case 3:22-cv-00205-SPM Document 12 Filed 06/24/22 Page 1 of 2 Page ID #31




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 ERIC FOREMAN,                                       Case No. 3:22-cv-00205-SPM

                      Plaintiff,

        v.

 SCENTAIR TECHNOLOGIES, LLC,

                      Defendant.



                              STIPULATION FOR DISMISSAL

       Plaintiff, ERIC FOREMAN, and Defendant, SCENTAIR TECHNOLOGIES, LLC,

by and through their undersigned counsel, hereby stipulate that:

       1.     This action shall be DISMISSED, with prejudice, as between all parties, and;

       2.     Each party shall bear their own costs and fees, including attorneys’ fees,

incurred in connection with this action.

   Dated: June 24, 2022

NYE STIRLING, HALE &                                   K&L GATES LLP
MILLER, LLP
                                                       By: /s/ Carol Lumpkin
By: /s/ Benjamin J. Sweet                              Carol Lumpkin, Esq.
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Attorneys for Plaintiff                                Attorneys for Defendant
 Case 3:22-cv-00205-SPM Document 12 Filed 06/24/22 Page 2 of 2 Page ID #32




                             CERTIFICATE OF SERVICE

       I, Benjamin J. Sweet, hereby certify that the foregoing document was filed through

the ECF system and will be sent electronically to the registered participants as identified

on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated

as non-registered participants this 24th day of June, 2022.


                                                                 /s/ Benjamin J. Sweet
                                                                  Benjamin J. Sweet




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